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                                                                                2018 Jul-20 PM 03:32
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                  IN THE UNITED DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       NORTHERN DIVISION

HIGHLAND TRUCKING, LLC,                  )
SOUTHERN ARMOUR FREIGHT, INC.,           )
KK’S TRUCKING, LLC,                      )
JEB EXPRESS, LLC,                        )
AND GAP TRUCKING, LLC,                   )
individually and on behalf of themselves and
                                         )
others similarly situated,               )
                                         )
        Plaintiffs,                      )
                                         )
V.                                       ) CASE NUMBER:
                                         )
FLEETMATICS, a Verizon Corporation d/b/a )
VERIZON CONNECT FLEET USA, LLC and )
VERIZON CONNECT FLEET USA, LLC,          )
                                         )    JURY DEMAND
        Defendants.                      )

                    COLLECTIVE ACTION COMPLAINT

                                I. JURISDICTION

      1.     This Court has original jurisdiction to hear this Complaint and to

adjudicate the claims stated herein under 28 U.S.C. §1331 because these claims are

brought under 42 U.S.C. § 1983 and state tort claims.

      2.     Venue is proper in the Northern District of Alabama Northern Division,

under 28 U.S.C. §1391(b)(2) and 28 U.S. Code § 1369 because a substantial part of

the events or omissions giving rise to the claims occurred in this District.
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                                 II. PARTIES

      3.    The Plaintiff, Highland Trucking, LLC (“Highland”), is a

trucking/hauling company doing business in the State of Alabama. The address of

the company is 321 Bankhead Hwy., Winfield, AL 35594.

      4.    The Plaintiff, Southern Armour Freight, Inc. (“Southern”), is a

trucking/hauling company doing business in the State of Alabama. The address of

the company is 7892 Hwy. 52, Spruce Pine, AL 35585.

      5.    The Plaintiff, KK’s Trucking, LLC (“KK”), is a trucking/hauling

company doing business in the State of Alabama. The address of the company is PO

Box 1587, Winfield, AL 35594.

      6.    The Plaintiff, Jeb Express, LLC (“Jeb”), is a trucking/hauling company

doing business in the State of Alabama. The address of the company is 5265 State

Hwy. 129, Winfield, AL 35594.

      7.    The Plaintiff, GAP Trucking, LLC (“GAP”), is a trucking/hauling

company doing business in the State of Alabama. The address of the company is

1137 2nd Avenue SE, Fayette, AL 35555.

      8.    The Defendant, Fleetmatics, a Verizon Corporation, d/b/a Verizon

Connect Fleet USA, LLC (“Fleetmatics” and or “Defendant”), is owned and operated

by Verizon Company. The Defendant is a worldwide company that does business in

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the State of Alabama as a foreign limited liability company.

      9.     The Defendant, Verizon Connect Fleet USA, LLC (“Verizon” and or

“Defendant”), is owned and operated by Verizon Company. The Defendant is a

worldwide company that does business in the State of Alabama as a foreign limited

liability company.

            III. COLLECTIVE ACTION FACTUAL ALLEGATIONS

      10.    Plaintiffs bring this action on behalf of themselves and others similarly

situated entities, pursuant to 42 U.S.C. § 1983, Ala. Code §6-5-101 and other state

tort claims. Plaintiffs and those similarly situated companies contracted with the

Defendants to become EDL compliant with US required DOT standards.

      11.    In 2012, the United States Congress enacted the “Moving Ahead for Progress

in the 21st Century” bill, or, more commonly referred to as MAP-21 (“EDL Bill”). That

bill, which also outlined the criteria for highway funding, included a provision

requiring the FMCSA to develop a rule mandating the use of electronic logging

devices (ELDs). An electronic logging device, ELD, is used to electronically record

a driver’s Record of Duty Status (RODS), which replaces the paper logbook some

drivers currently use to record their compliance with Hours of Service (HOS)

requirements. Fleets had until December 2017 to implement certified ELDs to record

HOS. The devices must be installed and in use by December 16, 2017, two years

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after its scheduled December 16, 2015, publication date. See ELD Facts.com.

      12.    The Plaintiffs all negotiated, relied and contracted with the Defendants

to have ELD units timely and properly installed and maintained in their trucks.

Additionally, the Defendants were to provide timely, proper and adequate training,

customer service, monitoring and maintenance of the ELD units in accordance with

US DOT EDL standards and the EDL Bill (the “Contracted Services”).

      13.    To date, the Defendants failed and or refused to provide the Contracted

Services to the Plaintiffs.

      14.    Due to the failure of the Defendants to provide the Contracted Services

to the Plaintiffs, the Plaintiffs were forced to contract with other companies, such as

Omni Track, who installed EDL units in order for the Plaintiffs to be EDL compliant

before the December 16, 2017 and April 1, 2018, EDL Bill deadline. The Plaintiffs

are now under contract and indebted to the third party company who provided the

Contracted Services before the EDL Bill deadline.

      15.    Even though the Defendants failed to provide the Contracted Services

and thereby breached their contract with the Plaintiffs, the Defendants are continuing

to wrongfully bill and attempt to collect payments from the Plaintiffs.

      16.    All Plaintiffs were required and signed the Defendants’ Services Order

Form with attached General Terms and Conditions (the “Agreement”). The Service

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Order Form under Order Terms, states: “2. The rights and obligations of Fleetmatics

and Customer under the Services Order Form are subject to and governed by

Fleetmatics General Terms and Conditions, as modified by any written addenda

referencing the Services Order Form and attached hereto, which are incorporated

herein by this reference (the “General Terms”). The “Agreement” shall mean this

Order Form and the attached General Terms. Capitalized terms not otherwise defined

in this Order Form shall have the same meaning given to them in the General Terms.”

      17.    The Agreement that all Plaintiffs signed states that the “Agreement

Length” is “36 months from the Subscription Start Date. The “Subscription Start

Date” is the earlier of (i) the date of installation of all Equipment or (ii) 45 days from

the execution of this Services Order Form.”

      18.    The Plaintiff, Highland, negotiated and entered into a contract, the

Agreement, with the Defendants on July 31, 2017. Troy Barter was the authorized

Fleetmatics Representative, who signed the July 31, 2017, Agreement. The

Agreement length is for thirty-six months at $264.00 a month and a full-term amount

of approx. $9,504.00.

      19.    The Plaintiff, Southern, negotiated and entered into a contract, the

Agreement, with the Defendants on November 20, 2017. Brian Eichman was the

authorized Fleetmatics Representative, who signed the November 20, 2017,

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Agreement. The Agreement length is for thirty-six months at $132.00 a month and

a full-term amount of $4,752.00.

      20.     The Plaintiff, KK, negotiated and entered into a contract, the Agreement,

with the Defendants on March 29, 2017.            David Barrios was the authorized

Fleetmatics Representative, who signed the March 29, 2017, Agreement. The

Agreement length is for thirty-six months at $506.00 a month and a full-term amount

of $17,203.36.

      21.     The Plaintiff, GAP, negotiated and entered into a contract, the

Agreement, with the Defendants on November 7, 2017. Jacob McClellan was the

authorized Fleetmatics Representative, who signed the November 7, 2017,

Agreement. The Agreement length is for thirty-six months at $320.00 a month and

a full-term amount of $11,520.00.

      22.     The Plaintiff, Jeb, negotiated and entered into a contract, the Agreement,

with the Defendants.

      23.     The Plaintiffs and the similarly situated entities are similar because they

are in the same industry, i.e. trucking/hauling, and they contracted with the

Defendants to provide the Contracted Services. Plaintiffs and the similarly situated

entities meet the collective action requirements of commonality, typicality and

numerosity.

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                              IV. CAUSES OF ACTION

                          COUNT ONE -42 U.S.C. § 1983

      24.     The Plaintiffs incorporate all paragraphs set out above as if fully set out

herein.

      25.     This claim is brought pursuant to 42 U.S.C. §1983 which prohibits the

deprivation of citizen’s “rights, privileges, or immunities secured by the Constitution

and laws” of the United States.

      26.     The Plaintiffs all negotiated, relied and contracted with the Defendants

to have ELD units timely and properly installed and maintained in their trucks.

Additionally, the Defendants were to provide timely, proper and adequate training,

customer service, monitoring and maintenance of the ELD units in accordance with

US DOT EDL standards and the EDL Bill (the “Contracted Services”).

      27.     To date, the Defendants failed and or refused to provide the Contracted

Services to the Plaintiffs.

      28.     Due to the failure of the Defendants to provide the Contracted Services

to the Plaintiffs, the Plaintiffs were forced to contract with other companies, such as

Omni Track, who installed EDL units in order for the Plaintiffs to be EDL compliant

before the December 16, 2017 and April 1, 2018, EDL Bill deadline. The Plaintiffs

are now under contract and indebted to the third party company, who provided to the

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Plaintiffs the Contracted Services before the EDL Bill deadline.

      29.      Even though the Defendants failed to provide the Contracted Services

and thereby breached their contract with the Plaintiffs, the Defendants are continuing

to wrongfully bill and attempt to collect payments from the Plaintiffs.

      30.      The Plaintiffs’ rights were violated by the Defendants’ adverse unlawful

actions.

      WHEREFORE, PREMISES CONSIDERED, Plaintiffs, individually and on

behalf of those similarly situated, pray for relief as follows:

      A.       Judgment against the Defendants and relief of the Plaintiffs’ obligations

under any contractual agreement with the Defendants for the services and

merchandise outlined herein;

      B.       An award of an amount equal to the Plaintiffs’ and similarly situated

individuals’ payments made to the Defendants for the Fleetmatics Agreement as set

out herein;

      C.       An award of the an amount equal to the Plaintiffs’ and similarly situated

individuals’, who have incurred additional fees and costs for having to purchase

and/or contract with other companies to become DOT EDL compliant;

      D.       An award of prejudgment interest (to the extent liquidated damages are

not awarded);

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      E.      Leave to add additional Plaintiffs by the filing of written consent forms,

or any other method approved by the Court;

      F.      Costs and attorneys’ fees to the extent allowed by law; and

      G.      All compensatory and punitive damages to which the Plaintiffs are

entitled and for such other and further relief as the Court deems just and proper.

                    COUNT TWO - BREACH OF CONTRACT

      31.     The Plaintiffs incorporate all paragraphs set out above as if fully set out

herein.

      32.     The Plaintiffs all negotiated, relied and contracted with the Defendants

to have ELD units timely and properly installed and maintained in their trucks.

Additionally, the Defendants were to provide timely, proper and adequate training,

customer service, monitoring and maintenance of the ELD units in accordance with

US DOT EDL standards and the EDL Bill.

      33.     To date, the Defendants failed and or refused to provide the Contracted

Services to the Plaintiffs.

      34.     Due to the failure of the Defendants to provide the Contracted Services

to the Plaintiffs, the Plaintiffs were forced to contract with other companies, such as

Omni Track, who installed EDL units in order for the Plaintiffs to be EDL compliant

before the December 16, 2017 and April 1, 2018, EDL Bill deadline. The Plaintiffs

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are now under contract and indebted to the third party company, who provided to the

Plaintiffs the Contracted Services before the EDL Bill deadline.

      35.     Even though the Defendants failed to provide the Contracted Services

and thereby breached their contract with the Plaintiffs, the Defendants are continuing

to wrongfully bill and attempt to collect payments from the Plaintiffs.

      WHEREFORE, PREMISES CONSIDERED, Plaintiffs, individually and on

behalf of those similarly situated, pray for relief as follows:

      A.      Judgment against the Defendants and relief of the Plaintiffs’ obligations

under any contractual agreement with the Defendants for the services and

merchandise outlined herein;

      B.      An award of an amount equal to the Plaintiffs’ and similarly situated

individuals’ payments made to the Defendants for the Fleetmatics Agreement as set

out herein;

      C.      An award of the an amount equal to the Plaintiffs’ and similarly situated

individuals’, who have incurred additional fees and costs for having to purchase

and/or contract with other companies to become DOT EDL compliant;

      D.      An award of prejudgment interest (to the extent liquidated damages are

not awarded);

      E.      Leave to add additional Plaintiffs by the filing of written consent forms,

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or any other method approved by the Court;

      F.     Costs and attorneys’ fees to the extent allowed by law; and

      G.     All compensatory and punitive damages to which the Plaintiffs are

entitled and for such other and further relief as the Court deems just and proper.


            COUNT THREE - MISREPRESENTATION AND FRAUD

      36.    The Plaintiff realleges and incorporates all above paragraphs as if fully

set out herein


      37.    The Defendants, who were the provider of goods and services,

misrepresented to the Plaintiffs their actions, willfully and intentionally deceived the

Plaintiffs, were negligent in not upholding the Agreement, and committed legal fraud.

      38.    The Plaintiffs all negotiated, relied and contracted with the Defendants

to have ELD units timely and properly installed and maintained in their trucks.

Additionally, the Defendants were to provide timely, proper and adequate training,

customer service, monitoring and maintenance of the ELD units in accordance with

US DOT EDL standards and the EDL Bill.

      39.    To date, the Defendants failed and or refused to provide the Contracted

Services to the Plaintiffs.

      40.    The Defendants willfully deceived the Plaintiffs with the intent to induce


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them to alter their position to this injury or risk, by misrepresenting that the

Defendants would properly install the EDL units in accordance with the EDL Bill.

The deceit within the meaning of legal fraud is the suggestion as a fact of that which

is not true by one who does not believe it to be true; the assertion as a fact of that

which is not true by one who has no reasonable ground for believing it to be true; the

suppression of a fact by one who is bound to disclose it or who gives information of

other facts which are likely to mislead for want of communication of that fact; or a

promise made without any intention of performing it. See Ala. Code §6-5-104.

      41.    Due to the failure of the Defendants to provide the Contracted Services

to the Plaintiffs, the Plaintiffs were forced to contract with other companies, such as

Omni Track, who installed EDL units in order for the Plaintiffs to be EDL compliant

before the December 16, 2017 and April 1, 2018, EDL Bill deadline. The Plaintiffs

are now under contract and indebted to the third party company, who provided to the

Plaintiffs the Contracted Services before the EDL Bill deadline.

      42.    Even though the Defendants failed to provide the Contracted Services

and thereby breached their contract with the Plaintiffs, the Defendants are continuing

to wrongfully bill and attempt to collect payments from the Plaintiffs.

      43.    Due to the Defendants’ misrepresentations, fraud and all adverse actions

associated therewith, the Plaintiffs have extensive out-of-pocket monetary and

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emotional damages.

              WHEREFORE, PREMISES CONSIDERED, Plaintiffs, individually and

on behalf of those similarly situated, pray for relief as follows:   A.     Judgment

against the Defendants and relief of the Plaintiffs’ obligations under any contractual

agreement with the Defendants for the services and merchandise outlined herein;

              B.     An award of an amount equal to the Plaintiffs’ and similarly situated

individuals’ payments made to the Defendants for the Fleetmatics Agreement as set out

herein;

              C.     An award of the an amount equal to the Plaintiffs’ and similarly

situated individuals’, who have incurred additional fees and costs for having to purchase

and/or contract with other companies to become DOT EDL compliant;

              D.     An award of prejudgment interest (to the extent liquidated damages

are not awarded);

              E.     Leave to add additional Plaintiffs by the filing of written consent

forms, or any other method approved by the Court;

              F.     Costs and attorneys’ fees to the extent allowed by law; and

              G.     All compensatory and punitive damages to which the Plaintiffs are

entitled and for such other and further relief as the Court deems just and proper.




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                              COUNT FOUR – CONVERSION

       44     The Plaintiff realleges and incorporates all above paragraphs as if fully set

out herein.

       45.    Through the Defendants’ adverse actions, the Defendants wrongfully

converted the Plaintiffs’ money for their own benefit and continue to attempt to collect

monies for their own benefit without performing their contracted obligation under the

contract, the Agreement.

       46.    The Plaintiffs all negotiated, relied and contracted with the Defendants to

have ELD units timely and properly installed and maintained in their trucks.

Additionally, the Defendants were to provide timely, proper and adequate training,

customer service, monitoring and maintenance of the ELD units in accordance with US

DOT EDL standards and the EDL Bill.

       47.    To date, the Defendants failed and or refused to provide the Contracted

Services to the Plaintiffs.

       48.    Due to the failure of the Defendants to provide the Contracted Services to

the Plaintiffs, the Plaintiffs were forced to contract with other companies, such as Omni

Track, who installed EDL units in order for the Plaintiffs to be EDL compliant before the

December 16, 2017 and April 1, 2018, EDL Bill deadline. The Plaintiffs are now under

contract and indebted to the third party company, who provided to the Plaintiffs the

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Contracted Services before the EDL Bill deadline.

      49.     Even though the Defendants failed to provide the Contracted Services and

thereby breached their contract with the Plaintiffs, the Defendants are continuing to

wrongfully bill and attempt to collect payments from the Plaintiffs.

      50.     Due to the Defendants’ misrepresentations and fraud and all adverse actions

associated therewith, the Plaintiff has extensive out-of-pocket monetary damages.

      WHEREFORE, PREMISES CONSIDERED, Plaintiffs, individually and on

behalf of those similarly situated, pray for relief as follows:

      A.      Judgment against the Defendants and relief of the Plaintiffs’ obligations

under any contractual agreement with the Defendants for the services and

merchandise outlined herein;

      B.      An award of an amount equal to the Plaintiffs’ and similarly situated

individuals’ payments made to the Defendants for the Fleetmatics Agreement as set

out herein;

      C.      An award of the an amount equal to the Plaintiffs’ and similarly situated

individuals’, who have incurred additional fees and costs for having to purchase

and/or contract with other companies to become DOT EDL compliant;

      D.      An award of prejudgment interest (to the extent liquidated damages are

not awarded);

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      E.     Leave to add additional Plaintiffs by the filing of written consent forms,

or any other method approved by the Court;

      F.     Costs and attorneys’ fees to the extent allowed by law; and

      G.     All compensatory and punitive damages to which the Plaintiffs are

entitled and for such other and further relief as the Court deems just and proper.

                    COUNT FIVE - MONEY HAD AND RECEIVED

      51.    The Plaintiff realleges and incorporates all above paragraphs as if fully

set out herein.

      52.    The Defendants’ adverse actions wrongfully converted the Plaintiff’s

money for their own benefit.

      53.    The Plaintiffs all negotiated, relied and contracted with the Defendants

to have ELD units timely and properly installed and maintained in their trucks.

Additionally, the Defendants were to provide timely, proper and adequate training,

customer service, monitoring and maintenance of the ELD units in accordance with

US DOT EDL standards and the EDL Bill.

      54.    To date, the Defendants failed and or refused to provide the Contracted

Services to the Plaintiffs.

      55.    Due to the failure of the Defendants to provide the Contracted Services

to the Plaintiffs, the Plaintiffs were forced to contract with other companies, such as

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Omni Track, who installed EDL units in order for the Plaintiffs to be EDL compliant

before the December 16, 2017 and April 1, 2018, EDL Bill deadline. The Plaintiffs

are now under contract and indebted to the third party company, who provided to the

Plaintiffs the Contracted Services before the EDL Bill deadline.

      56.    Even though the Defendants failed to provide the Contracted Services

and thereby breached their contract with the Plaintiffs, the Defendants are continuing

to wrongfully bill and attempt to collect payments from the Plaintiffs.

      57.    As a result of the adverse actions of the Defendants, the Plaintiffs and

other members similarly situated have been deprived of property and money.

      58.    The Defendants owe the Plaintiffs, and all others similarly situated, the

moneys paid and any costs associated therewith in contravention of federal and

Alabama law.

      WHEREFORE, PREMISES CONSIDERED, Plaintiffs, individually and on

behalf of those similarly situated, pray for relief as follows:

      A.     Judgment against the Defendants and relief of the Plaintiffs’ obligations

under any contractual agreement with the Defendants for the services and

merchandise outlined herein;

      B.     An award of an amount equal to the Plaintiffs’ and similarly situated

individuals’ payments made to the Defendants for the Fleetmatics Agreement as set

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out herein;

      C.      An award of the an amount equal to the Plaintiffs’ and similarly situated

individuals’, who have incurred additional fees and costs for having to purchase

and/or contract with other companies to become DOT EDL compliant;

      D.      An award of prejudgment interest (to the extent liquidated damages are

not awarded);

      E.      Leave to add additional Plaintiffs by the filing of written consent forms,

or any other method approved by the Court;

      F.      Costs and attorneys’ fees to the extent allowed by law; and

      G.      All compensatory and punitive damages to which the Plaintiffs are

entitled and for such other and further relief as the Court deems just and proper.

              COUNT SIX - BREACH OF BUSINESS FIDUCIARY DUTY

      59.     The Plaintiff realleges and incorporates all above paragraphs as if fully

set out herein.

      60.     Based on the Defendants’ incompetence and imprudent actions leading

to losses, negligent action causing improper use of position and assets, self-dealing

or conflict of interest, fraud, misappropriation, deception, misinformation, and false

disclosures, breach of a contractual agreement and all adverse actions associated

therewith, the Defendants breached their fiduciary duties to the Plaintiffs by not

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providing the Contracted Services.

      61.     The Defendants’ actions meet the four principles of a breach of business

fiduciary duties and warrants a claim by the Plaintiffs for damages. The Defendants

had an existence of fiduciary obligation, duty of loyalty, obedience, care and

disclosure toward the Plaintiff. The Defendants’ violation of the duties caused the

Plaintiffs’ injuries and all others similarly situated.

      62.     Due to the Defendants’ misrepresentations, fraud and all adverse actions

associated therewith, the Plaintiffs have extensive out-of-pocket monetary and

emotional damages.

      WHEREFORE, PREMISES CONSIDERED, Plaintiffs, individually and on

behalf of those similarly situated, pray for relief as follows:

      A.      Judgment against the Defendants and relief of the Plaintiffs’ obligations

under any contractual agreement with the Defendants for the services and

merchandise outlined herein;

      B.      An award of an amount equal to the Plaintiffs’ and similarly situated

individuals’ payments made to the Defendants for the Fleetmatics Agreement as set

out herein;

      C.      An award of the an amount equal to the Plaintiffs’ and similarly situated

individuals’, who have incurred additional fees and costs for having to purchase

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and/or contract with other companies to become DOT EDL compliant;

      D.      An award of prejudgment interest (to the extent liquidated damages are

not awarded);

      E.      Leave to add additional Plaintiffs by the filing of written consent forms,

or any other method approved by the Court;

      F.      Costs and attorneys’ fees to the extent allowed by law; and

      G.      All compensatory and punitive damages to which the Plaintiffs are

entitled and for such other and further relief as the Court deems just and proper.

                       COUNT SEVEN - UNJUST ENRICHMENT

      63.     The Plaintiffs incorporate all paragraphs set out above as if fully set out

herein.

      64.     The Plaintiffs all negotiated, relied and contracted with the Defendants

to have ELD units timely and properly installed and maintained in their trucks.

Additionally, the Defendants were to provide timely, proper and adequate training,

customer service, monitoring and maintenance of the ELD units in accordance with

US DOT EDL standards and the EDL Bill.

      65.     To date, the Defendants failed and or refused to provide the Contracted

Services to the Plaintiffs.




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      66.    Due to the failure of the Defendants to provide the Contracted Services

to the Plaintiffs, the Plaintiffs were forced to contract with other companies, such as

Omni Track, who installed EDL units in order for the Plaintiffs to be EDL compliant

before the December 16, 2017 and April 1, 2018, EDL Bill deadline. The Plaintiffs

are now under contract and indebted to the third party company, who provided to the

Plaintiffs the Contracted Services before the EDL Bill deadline.

      67.    Even though the Defendants failed to provide the Contracted Services

and thereby breached their contract with the Plaintiffs, the Defendants are continuing

to wrongfully bill and attempt to collect payments from the Plaintiffs.

      68.    As a result of the policies and practices of the Defendants, Defendants

have been unjustly enriched to the detriment of Plaintiffs and others similarly

situated.

      69.    The Defendants owe the Plaintiffs and others similarly situated those

amounts collected which are in violation of Alabama and federal law.

      WHEREFORE, PREMISES CONSIDERED, Plaintiffs, individually and on

behalf of those similarly situated, pray for relief as follows:

      A.     Judgment against the Defendants and relief of the Plaintiffs’ obligations

under any contractual agreement with the Defendants for the services and

merchandise outlined herein;

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      B.      An award of an amount equal to the Plaintiffs’ and similarly situated

individuals’ payments made to the Defendants for the Fleetmatics Agreement as set

out herein;

      C.      An award of the an amount equal to the Plaintiffs’ and similarly situated

individuals’, who have incurred additional fees and costs for having to purchase

and/or contract with other companies to become DOT EDL compliant;

      D.      An award of prejudgment interest (to the extent liquidated damages are

not awarded);

      E.      Leave to add additional Plaintiffs by the filing of written consent forms,

or any other method approved by the Court;

      F.      Costs and attorneys’ fees to the extent allowed by law; and

      G.      All compensatory and punitive damages to which the Plaintiffs are

entitled and for such other and further relief as the Court deems just and proper.

     PLAINTIFFS HEREBY DEMAND A TRIAL BY STRUCK JURY.


                                  /s/ Kimberly R. Dodson
                                  KIMBERLY R. DODSON
                                  ASB-0487-L58D; DODS023




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OF COUNSEL:

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Please Serve Defendants by Certified Mail at:

Fleetmatics
d/b/a Verizon Connect Fleet USA, LLC
c/o Registered Agent and/or Service Agent
2 North Jackson Street, Suite 605
Montgomery, AL 36104

Verizon Connect Fleet USA, LLC
c/o Registered Agent and/or Service Agent
2 North Jackson Street, Suite 605
Montgomery, AL 36104

                                    /s/ Kimberly R. Dodson
                                    OF COUNSEL




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